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                                                                    Exhibit A
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                                                         IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS DOROTHY BROWN
                                                                                                       CIRCUIT CLERK
                                                               COUNTY DEPARTMENT - LAW DIVISION
                                                                                                       COOK COUNTY, IL
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                                                                                                       2020L006563
                                          TIMOTHY FAHEY                       )
                                                                              )                                                9550667
                                                      PLAINTIFF,              )
                                                                              )
                                               v.                             )                        CASE NO. 20 L 6563
                                                                              )
                                          WILLIAM SAROLAS, /JOSE R. MARTINEZ, )
                                          LYFT, INC. and THE HERTZ            )
                                          CORPORATION                         )
                                                                              )
                                                      DEFENDANTS.             )

                                                          PLAINTIFF'S FIRST AMENDED COMPLAINT AT LAW

                                                 Now comes Plaintiff, Timothy Fahey, by and through his attorneys, THE COLLINS LAW

                                          FIRM, P.C., and states for his First Amended Complaint against William Sarolas, Jose R.

                                          Martinez, Lyft, Inc. and The Hertz Corporation, ("Defendants"), as follows:

                                                                                       FACTS

                                                 1.      Plaintiff, Timothy Fahey, at all times mentioned, resided, and still resides at 4910

                                          Eagle Cove South Driveealm Harbor, FL, 34685.

                                                 2.      Defendant', William Sarolas, at all times mentioned, resided, and still resides at

                                          3761 W. 77th Place, Chiciago, Illinois, County of Cook.

                                                 3.      That at all times material. Defendant, William Sarolas, was the owner of a 2004

                                          Chevy Trailblazer, bearing Illinois license plate number V692213.

                                                 4.      Defendant, Jose R. Martinez, at all times mentioned, resided, and still resides at

                                          14242 Davis Ct, Blue Island, Illinois, County of Cook.

                                                 5.      That at all times material, Defendant, Jose R. Martinez, was the driver of a 2017

                                          Hyundai Elantra-CET, bearing Illinois license plate number BE44974.




                                                                                                           Exhibit B
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                                                  6.      On November 2, 2019, approximately 4:10 p.m., Plaintiff was a Lyft passenger in

                                           a vehicle driven by Defendant JOSE R. MARTINEZ and owned by Defendant HERTZ
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                                           CORPORATION at the intersection of II lih Street and Cicero Avenue, in Chicago, Illinois.

                                                   7.     That the Defendant LYFT, INC. is a foreign corporation engaged in Delaware the

                                           with its agent, CT Corporation System, located at 208 S. LaSalle St., Ste. 814, City of Chicago,

                                           County of Cook, and State of Illinois.

                                                  8.      That the Defendant HERTZ CORPORATION is a foreign corporation engaged in

                                           Delaware with its with its agent, CT Corporation System, located at 208 S. LaSalle St., Ste. 814,

                                           City of Chicago, County of Cook, and State of Illinois.

                                                  9.      On or about November 2, 2019, Defendant, JOSE R. MARTINEZ, was an agent

                                           and/or employee of Defendant, LYFT INC.

                                                  10.     On or about November 2, 2019, Defendant, JOSE R. MARTINEZ, upon the

                                           direction of its principal and/or employer Defendant, LFYT, INC., was operating his vehicle

                                           owned by Defendant HERTZ CORPORATION while driving Plaintiff and several others who

                                           were LFYT passengers, in the City of Chicago, County of Cook, and State of Illinois.

                                                  11.     At the aforementioned time and place, Defendant, while acting within the scope of

                                           his employment duties or under the direction of his principal, was operating his above referenced

                                           automobile in a generallY westbound direction on or upon 111t h and Cicero Avenue at or near the

                                           intersection of 11 I th and Cicero Avenue, when the Defendant Sarolas's vehicle struck co-

                                           Defendant Martinez's vehicle while Co-Defendant Martinez was driving passengers, including

                                           Plaintiff, for LYFT, thereby causing Plaintiff to sustain injuries as hereinafter alleged.

                                                                              COUNT I — Fahey v. Sarolas

                                                  12.     Plaintiff re-alleges and incorporates by reference each and every allegation set forth




                                                                                             2
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                                         in paragraphs 1 through 11 above.

                                                 13.      That at al times hereto material, it was the duty of the Defendant to exercise
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                                         ordinary care for the safety of the person and property of others then and there upon said roadway,

                                         and especially, the Plaintiff herein.

                                                 14       Notwithstanding said duty as heretofore alleged in the next preceding paragraph,

                                         Defendant, carelessly and negligently did, or failed to do, one or more of the following acts:

                                                       a) Failed to keep a proper lookout;

                                                       b) Failed to slow or stop his vehicle to avoid colliding with the vehicle carrying
                                                          Plaintiff; '

                                                       c) Failed to reduce the speed of his vehicle to avoid colliding with the vehicle
                                                          carrying Plaintiff;

                                                       d) Failed to maintain proper control of his vehicle;

                                                       e) Failed to drive at a speed which was reasonable for traffic conditions;

                                                       0 Carelessbi and negligently disobeyed a traffic control device;

                                                       g) Was otherwise careless and negligent in the operation of said motor vehicle.

                                                 15.      That by reason of the premises and as a direct and proximate result of the aforesaid

                                         careless and negligent acts, or omissions, of Defendant, Plaintiff sustained severe injuries.

                                                 16.      As a direct and proximate result of the collision, Plaintiff has incurred, and will in

                                         the future continue to incur, medical and hospital expenses for the treatment of his injuries.
                                                                   I
                                                 17.      Asa direct and proximate result of the collision, Plaintiff has suffered, and will in

                                         the future continue to suffer, great physical and mental pain and suffering.

                                                 WHEREFORE, Plaintiff, Timothy Fahey, requests judgment against the Defendant,

                                         William Sarolas, in an amount greater than $50,000.00, plus the costs of this action.




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                                                                          COUNT II— Fahey v. Martinez

                                                18.      Plaintiff re-alleges and incorporates by reference each and every allegation set
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                                         forth in paragraphs 1 through 11 above.

                                                19.      That at all times hereto material, it was the duty of the Defendant to exercise

                                         ordinary care for the safety
                                                                    l of the person and property of others then and there upon said

                                         roadway, and especially, the Plaintiff herein.

                                                20.      Notwithstanding said duty as heretofore alleged in the next preceding paragraph,

                                         Defendant, carelessly and negligently did, or failed to do, one or more of the following acts:

                                                      a) Failed to keep a proper lookout;

                                                      b) Failed to slow or stop his vehicle to avoid colliding with another vehicle;

                                                      c) Failed to reduce the speed of his vehicle to avoid colliding with another vehicle;

                                                      d) Failed to Maintain proper control of his vehicle;

                                                      e) Failed to drive at a speed which was reasonable for traffic conditions;

                                                      f) Carelessly and negligently disobeyed a traffic control device;

                                                      g) Was otherwise careless and negligent in the operation of said motor vehicle.

                                                21.      That by reason of the premises and as a direct and proximate result of the aforesaid

                                         careless and negligent acts, or omissions, of Defendant, Plaintiff sustained severe injuries.

                                                22.      As a direct and proximate result of the collision, Plaintiff has incurred, and will in

                                         the future continue to incur, medical and hospital expenses for the treatment of his injuries.

                                                23.      As a direct and proximate result of the collision, Plaintiff has suffered, and will in

                                         the future continue to suffer, great physical and mental pain and suffering.

                                                WHEREFORE, Plaintiff, Timothy Fahey, requests judgment against the Defendant, Jose

                                         R. Martinez, in an amount greater than $50,000.00, plus the costs of this action.




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                                                               COUNT — Fahey v. Lyn — RESPONDEAT SUPERIOR

                                                  24.     Plaintiff re-alleges and incorporates by reference each and every allegation set forth
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                                           in paragraphs I through II above.

                                                  25.     That at the aforesaid time and place, Defendant, JOSE R. MARTINEZ was an

                                           agent, apparent agent and/or employee of the Defendant, and was acting in the scope of his

                                           authority as agent, apparent agent and/or employee, and negligently operated his motor vehicle,

                                           which caused injury and damage to the Plaintiff.

                                                  25.     Defendant LYFT, INC., as employer and/or principal of Defendant, JOSE R.

                                           MARTINEZ was directly responsible for the acts and or omissions of its employee and/or agent

                                           or apparent agent, as Defendant JOSE R. MARTINEZ was performing his duties in furtherance of

                                           the relationship between LYFT and JOSE R. MARTINEZ.

                                                  26.     Defendant LYFT, INC., by and through its agent and/or employee, was then and

                                           there guilty of one or more of the following acts or omissions:

                                                          a.      Carelessly or negligently failed properly supervise their hired help;

                                                          b.      Carelessly or negligently failed to prevent the negligent act of its agent or

                                                                  apparent agent;

                                                          c.      Carelessly or negligently failed to properly train its agents, apparent agents

                                                                  and/or employees;

                                                          d.      Carelessly or negligently failed to properly screen its agents, apparent

                                                                  agents and/or employees;

                                                          e.      Was otherwise careless and negligent.




                                                                                             5
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                                                   27.     That by reAson of the above and as a direct and proximate result of the Defendant,

                                            LYFT, INC., agent or apparent agent's careless and negligent acts, or omissions, of Defendant,
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                                            Plaintiff, TIMOTHY FAI-!EY, sustained severe injuries, including to his neck and spine.

                                                   28.     That as a result of the aforesaid injuries, the Plaintiff, TIMOTHY FAHEY, has

                                            sustained damages, and continues to sustain damages, that include liability for medical and health

                                            care expenses, disability, pain and suffering.

                                                    WHEREFORE, it is respectfully requested that judgment be entered in favor of Plaintiff,

                                            and against Defendant, LYFT, INC., in an amount necessary to fully and fairly compensate

                                            Plaintiff for his injuries arid losses, which exceeds $50,000.00, together with the costs of this suit.

                                                             COUNT IV — Fahey v. Hertz — RESPONDEAT SUPERIOR

                                                   29.     Plaintiff re-alleges and incorporates by reference each and every allegation set forth

                                            in paragraphs 1 through 11 above.

                                                    30.    That at the aforesaid time and place, Defendant, JOSE R. MARTINEZ was driving

                                            a vehicle owned by THE HERTZ CORPORATION and was acting with the consent and authority

                                            of Defendant THE HERTZ CORPORATION and negligently operated his motor vehicle, which

                                            caused injury and damageito the Plaintiff.

                                                    31.    Defendant THE HERTZ CORPORATION as owner of the vehicle driven by

                                            Defendant, JOSE R. MARTINEZ was directly responsible for the acts and or omissions of

                                            Defendant JOSE R. MARTINEZ, as Defendant MARTINEZ was performing his duties in

                                            furtherance of the relationship between HERTZ and JOSE R. MARTINEZ.

                                                    32.    Defendant THE HERTZ CORPORATION by and through its agent, apparent

                                            agent, permissive user, and/or employee, was then and there guilty of one or more of the following

                                            acts or omissions:




                                                                                              6
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                                                          a.     Carelessly or negligently failed to prevent the negligent act of its agent or

                                                                 apparent agent or permissive user;
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                                                          b.     Carelessly or negligently failed to properly train its agents, apparent agents

                                                                 or permissive users;

                                                          c.     Carelessly or negligently failed to properly screen its agents, apparent

                                                                 agents and/or permissive users;

                                                          d.     Was otherwise careless and negligent.

                                                   33.    That by reason of the above and as a direct and proximate result of the Defendant,

                                          LYFT, INC., agent, apparent agent or permissive user's careless and negligent acts, or omissions,

                                          of Defendant, Plaintiff, TIMOTHY FAHEY, sustained severe injuries, including to his neck and

                                          spine.

                                                                    l
                                                   28.    That as a result of the aforesaid injuries, the Plaintiff, TIMOTHY FAHEY, has

                                          sustained damages, and continues to sustain damages, that include liability for medical and health

                                          care expenses, disability, pain and suffering.

                                                   WHEREFORE, it is respectfully requested that judgment be entered in favor of Plaintiff,

                                          and against Defendant, THE HERTZ CORPORATION in an amount necessary to fully and fairly

                                          compensate Plaintiff for his injuries and losses, which exceeds $50,000.00, together with the costs

                                          of this suit.

                                          Dated: June 22, 2020                             Respectfully submitted,




                                                                                           By:    Al John D. Risvold
                                                                                                     One of Plaintiffs Attorneys

                                          John D. Risvold
                                          The Collins Law Firm,   p.c.


                                                                                              7
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                                           1770 Park Street, Suite 200
                                           Naperville, Illinois 60563
                                           jrisvold@collinslaw.com
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                                           (630) 527-1595




                                                                                 8
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A lb.


;_:_t CT Corporation                                                            Service of Process
                                                                                Transmittal
                                                                                06/29/2020
                                                                                CT Log Number
        TO:
                LYFT, INC.
                185 Berry St Ste 5000
                San Francisco, CA 94107


        RE:     Process Served in Illinois

        FOR:    Lyft, Inc. (Domestic State: DE)




        ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

        TITLE OF ACTION:                  TIMOTHY FAHEY, PLTF. vs. WILLIAM SAROLAS, ET AL., DFTS. // To: LYFT, INC.

        DOCUMENT(S) SERVED:

        COURT/AGENCY:                     None Specified
                                          Case # 2020L006563
        NATURE OF ACTION:                 Personal Injury - Vehicle Collision
        ON WHOM PROCESS WAS SERVED:       C T Corporation System, Chicago, IL
        DATE AND HOUR OF SERVICE:         By Process Server on 06/29/2020 at 12:38
        JURISDICTION SERVED:              Illinois
        APPEARANCE OR ANSWER DUE:         None Specified
        ATTORNEY(S) / SENDER(S):          None Specified
        ACTION ITEMS:




        SIGNED:                           C T Corporation System
        ADDRESS:                          208 LaSalle Ave
                                          Suite 814




                                                                                           Exhibit C
                                                                                Page 1 of 2 / MS
                                                                                Information displayed on this transmittal is for CT
                                                                                Corporation's record keeping purposes only and is provided to
                                                                                the recipient for quick reference. This information does not
                                                                                constitute a legal opinion as to the nature of action, the
                                                                                amount of damages, the answer date, or any information
                                                                                contained in the documents themselves. Recipient is
                                                                                responsible for interpreting said documents and for taking
                                                                                appropriate action. Signatures on certified mail receipts
                                                                                confirm receipt of package only, not contents.
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                                                        Exhibit D
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                                                           IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                         DOROTHY BROWN
                                                                                                                                 CIRCUIT CLERK
                                                                 COUNTY DEPARTMENT - LAW DIVISION
                                                                                                                                 COOK COUNTY, IL
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                                                                                                                                 2020L006563
                                            TIMOTHY FAHEY                                        )
                                                                                                 )
                                                           PLAINTIFF,                            )
                                                                                                 )
                                                   v.                                            )        CASE NO. 20 L 6563
                                                                                                 )
                                            WILLIAM SAROLAS, JOSE R. MARTINEZ,                   )
                                            LYFT, INC. and THE HERTZ                             )
                                            CORPORATION                                          )
                                                                                                 )
                                                           DEFENDANTS.                           )

                                                     PLAINTIFF’S AGREED MOTION TO VOLUNTARILY DISMISS,
                                                   PURSUANT TO 735 ILCS 5/2-1009 (a), WITHOUT PREJUDICE, AND
                                               WITH LEAVE TO REINSTATE AS A MATTER OF RIGHT WITHIN ONE YEAR,
                                                          AND WITH NO OBJECTIONS FROM DEFENDANT

                                                   NOW COMES the Plaintiff Timothy Fahey, by his attorney, THE COLLINS LAW FIRM,

                                            P.C., and its Motion to Voluntarily Dismiss, Pursuant to 735 ILCS 5/2-1009 (a) , Without

                                            Prejudice, and With Leave to Reinstate As a Matter of Right Within One Year, and With No

                                            Objection From Defendant, state as follows :

                                                   1.      With this Motion, Plaintiff seeks to voluntarily dismiss, pursuant to 735 ILCS 5/2-

                                            1009(a) of the Illinois Code of Civil Procedure, the following Defendant: The Hertz Corporation

                                                   2.      As this Court is aware, a plaintiff may, at any time before trial and upon notice to

                                            each party who has appeared of each such party’s attorney, dismiss his or her action or any part

                                            thereof as to any defendant, without prejudice, by order filed in the cause. 735 ILCS 5/2-1009(a)

                                                   3.      On July 22, 2020 counsel for Plaintiff contacted counsel for Defendant The Hertz

                                            Corporation and Defendant’s Counsel has no objection to this Motion, or the relief it requests, and

                                            the parties have further agreed that each party shall bear his/her own costs, fees and expenses.

                                                   WHEREFORE, Plaintiff prays for an Order as follows:
                                                                                                                     Exhibit E
                                                                                             1
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                                                    1.      Pursuant to 735 ILCS 5/2-1009(a), granting the voluntary dismissal, without

                                            prejudice, and with leave to reinstate as a matter of right within one year, of plaintiff’s action
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                                            against Defendant, The Hertz Corporation

                                                    2.      Each party shall bear its own costs, fees and expenses;

                                                    3.      Should plaintiff re-file his action, the parties agree, pursuant to Hudson v. City of

                                            Chicago, 228 Ill. 2d 462 (2008), that no such action would be barred as res judicata by the rule

                                            against claim splitting. Nothing in this order shall prevent Plaintiff or Defendants from raising

                                            any other claims or defenses that are or may become available to the parties independent of

                                            Plaintiff’s decision to exercise his non-suit rights.

                                            Dated: July 23, 2020
                                                                                            Respectfully Submitted,

                                                                                            Timothy Fahey




                                                                                            By:
                                                                                            One of His Attorneys
                                            Edward J. Manzke
                                            John D. Risvold
                                            THE COLLINS LAW FIRM
                                            1770 N. Park Street, Ste. 200
                                            Naperville, Illinois 60543
                                            630.527.1595
                                            ejmanzke@collinslaw.com
                                            #32920




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                IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                      COUNTY DEPARTMENT - LAW DIVISION

TIMOTHY FAHEY                                           )
                                                        )
                PLAINTIFF,                              )
                                                        )
        v.                                              )     CASE NO. 20 L 6563
                                                        )
WILLIAM SAROLAS, JOSE R. MARTINEZ,                      )
LYFT, INC. and THE HERTZ                                )
CORPORATION                                             )
                                                        )
                DEFENDANTS.                             )

                                         AGREED ORDER

        1.      Pursuant to 735 ILCS 5/2-1009(a), the voluntary dismissal is granted, without

prejudice, and with leave to reinstate as a matter of right within one year, plaintiff’s action

against Defendant The Hertz Corporation;

        2.      Each party shall bear its own costs, fees and expenses;

        3.      Should plaintiff re-file his action, the parties agree, pursuant to Hudson v. City of

Chicago, 228 Ill. 2d 462 (2008), that no such action would be barred as res judicata by the rule

against claim splitting. Nothing in this order shall prevent Plaintiff or Defendants from raising

any other claims or defenses that are or may become available to the parties independent of

Plaintiff’s decision to exercise his non-suit rights.


Dated: July ___, 2020
                                                Entered:

                                                __________________________
Prepared By:
John D. Risvold
THE COLLINS LAW FIRM
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Naperville, Illinois 60543
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